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                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF INDIANA
                                   SOUTH BEND DIVISION

  TERRY LaCROIX,

                  Plaintiff,

                          v.                               CAUSE NO. 3:22-CV-193-JD-MGG

  COOK, et al.,

                  Defendants.

                                      OPINION AND ORDER

         Terry LaCroix, a prisoner without a lawyer, is proceeding on a claim against two

 correctional officers at Indiana State Prison (“ISP”), Officers Gregory Cook and Kevin

 Shaia, for allegedly using excessive force against him on September 25, 2020, when they

 were escorting him to the medical unit. (ECF 13.) Defendants move for summary

 judgment on the ground that Mr. LaCroix did not exhaust his administrative remedies

 before filing suit as required by the Prison Litigation Reform Act (“PLRA”), 42 U.S.C.

 § 1997e. 1 (ECF 23.) Mr. LaCroix has filed a response and supporting exhibits in

 opposition to the motion (ECF 34, 35), and Defendants have filed a reply (ECF 38). The

 matter is now ripe for adjudication.

         Under Federal Rule of Civil Procedure 56, the court “shall grant summary

 judgment if the movant shows that there is no genuine dispute as to any material fact

 and the movant is entitled to judgment as a matter of law.” FED. R. CIV. P. 56(a). In



         1 Defendant Shaia was identified and served after Defendant Cook filed his motion for summary

 judgment. Defendant Shaia has been granted leave to join in the motion. (ECF 51.)
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 deciding whether a genuine dispute of material fact exists, the court must “consider all

 of the evidence in the record in the light most favorable to the non-moving party,

 and . . . draw all reasonable inferences from that evidence” in that party’s favor. Dunn v.

 Menard, Inc., 880 F.3d 899, 905 (7th Cir. 2018) (citation omitted). However, a party

 opposing a properly supported summary judgment motion may not rely merely on

 allegations or denials in her own pleading, but rather must “marshal and present the

 court with the evidence she contends will prove her case.” Goodman v. Nat’l Sec. Agency,

 Inc., 621 F.3d 651, 654 (7th Cir. 2010). “[I]nferences relying on mere speculation or

 conjecture will not suffice.” Trade Fin. Partners, LLC v. AAR Corp., 573 F.3d 401, 407 (7th

 Cir. 2009). Additionally, not every dispute between the parties makes summary

 judgment inappropriate; “[o]nly disputes over facts that might affect the outcome of the

 suit under the governing law will properly preclude the entry of summary judgment.”

 Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).

        The PLRA provides that “[n]o action shall be brought with respect to prison

 conditions under section 1983 of this title, or any other Federal law, by a prisoner. . .

 until such administrative remedies as are available are exhausted.” 42 U.S.C. § 1997e(a).

 Lack of exhaustion is an affirmative defense that the defendant has the burden of

 pleading and proving. Jones v. Bock, 549 U.S. 199, 216 (2007). The purpose of the

 exhaustion requirement is “to give the prison an opportunity to address the problem

 before burdensome litigation is filed.” Chambers v. Sood, 956 F.3d 979, 983 (7th Cir. 2020)

 (citing Woodford v. Ngo, 548 U.S. 81 (2006)).




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        The Seventh Circuit has taken a “strict compliance approach to exhaustion.” Dole

 v. Chandler, 438 F.3d 804, 809 (7th Cir. 2006). Thus, “[t]o exhaust remedies, a prisoner

 must file complaints and appeals in the place, and at the time, the prison’s

 administrative rules require.” Pozo v. McCaughtry, 286 F.3d 1022, 1025 (7th Cir. 2002).

 “[A] prisoner who does not properly take each step within the administrative process

 has failed to exhaust state remedies.” Id. at 1024. The exhaustion requirement is

 mandatory, and the court does not have discretion to excuse a prisoner from

 exhausting. Ross v. Blake, 578 U.S. 632, 639 (2016). Nevertheless, inmates are only

 required to exhaust administrative remedies that are actually available. Woodford, 548

 U.S. at 102. The availability of a remedy is not a matter of what appears on paper, but

 whether the process was in actuality available for the prisoner to pursue. Kaba v. Stepp,

 458 F.3d 678, 684 (7th Cir. 2006). When prison staff hinder an inmate’s ability to use the

 grievance process, administrative remedies are not considered “available.” Id.

        The following facts are undisputed unless otherwise noted. At the time of this

 incident, ISP had a grievance policy through which inmates could grieve a variety of

 matters, including the actions of staff or other concerns related to the conditions of their

 confinement. (ECF 25-2.) Mr. LaCroix was aware of the grievance process and used it

 both before and after the September 2020 incident. (ECF 35 at 5; ECF 37-2 at 1; ECF 37-

 3.) The grievance process consists of three steps: (1) a formal grievance; (2) a written

 appeal to the Warden or his designee; and (3) a written appeal to the Indiana

 Department of Correction (“IDOC”) Grievance Manager. (ECF 25-2 at 3.) The process




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 begins with the inmate filing a formal grievance no later than 10 business days from the

 date of the incident giving rise to the complaint or concern. 2 (Id. at 9.)

         The record reflects that Mr. LaCroix filed a formal grievance about the September

 2020 incident on April 25, 2021. (ECF 34-1 at 5.) It was rejected as untimely. 3 (Id. at 4.)

 There is some discretion in the grievance policy for the acceptance of a late grievance if

 there are “extenuating circumstances” that prevented the inmate from filing a timely

 grievance. (ECF 37 ¶ 39; ECF 25-2 at 14.) However, the grievance specialist did not find

 cause for a seven-month extension of the deadline in this instance, particularly because

 he was aware that Mr. LaCroix had filed a grievance about an unrelated matter in

 December 2020. (ECF 37 ¶ 39.) Based on the fact that Mr. LaCroix did not submit a

 timely grievance related to the incident giving rise to this lawsuit, Defendants argue

 that dismissal under 42 U.S.C. § 1997e(a) is warranted. (ECF 24, 38.)

         Mr. LaCroix argues that the untimeliness of his grievance should be excused

 because he was having difficulties in the months following the September 2020 incident.



         2 In his response to the Defendants’ statement of material facts, Mr. LaCroix “refutes” that the

 grievance policy required him to file a grievance within 10 days. However, he does not include a citation
 to evidence supporting such a dispute, and instead argues that the 10-day limitation is “unrealistic.” (ECF
 35 at 6.) His legal arguments do not create a factual dispute; furthermore, he acknowledges elsewhere in
 his filings that the grievance policy required him to file a grievance within 10 business days. (ECF 34-4 at
 8.) The court deems admitted Defendants’ proposed fact about the 10-day provision, which is a matter of
 public record. See IND. DEP’T OF CORR. POLICY & ADMIN. PROC., Offender Grievance Process, No. 00-02-301,
 § X (eff. Sept. 1, 2020).

         3 The grievance specialist initially attested that he could not locate any grievance from Mr.

 LaCroix about this incident. (ECF 25-1.) He explains in a subsequent filing that he only searched
 grievance records through December 31, 2020, which he deemed a reasonable period for a grievance to
 have been filed about the September 2020 incident. (ECF 37 ¶¶ 35-37.) After Mr. LaCroix submitted his
 response arguing that he did file a grievance about this incident, the grievance specialist broadened his
 search and located the April 2021 grievance that was rejected as untimely. (Id.) The court additionally
 notes that Mr. LaCroix appears to have resubmitted the same grievance in September 2021, a full year
 after the incident giving rise to the complaint. (ECF 34-1 at 5.) This resubmitted grievance was even later
 than the original. (ECF 37 ¶ 37.)


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 (ECF 34-2 at 2.) Specifically, he claims he was “suffering serious mental & emotional

 from my injuries . . . with my PTSD, anxiety, depression, difficulty sleeping,

 nervousness, [and] distress intolerance disorder.” (Id.) Mr. LaCroix is correct that a

 grievance process is not considered available “to a person physically unable to pursue

 it.” Lanaghan v. Koch, 902 F.3d 683, 689 (7th Cir. 2018). If an inmate is incapacitated

 during part or all of the grievance period, he must nevertheless file a grievance “as soon

 as it was reasonably possible for him to do so.” Hurst v. Hantke, 634 F.3d 409, 412 (7th

 Cir. 2011).

        Medical records Mr. LaCroix submits in support of his incapacity argument

 reflect that he was brought to the infirmary by the Defendants on September 25, 2020,

 after being found unresponsive in his cell and showing signs of a drug overdose. (ECF

 34-1 at 187-92.) He was given Narcan and observed in the infirmary for a few days. (Id.)

 In early October 2020, he underwent an x-ray of his left shoulder because of a “popping

 sensation and pain” allegedly caused by him falling on his shoulder during this

 incident. (Id. at 193.) The x-ray showed a “minimally displaced fracture” of his left

 shoulder. (ECF 34-1 at 194.) Another x-ray taken later in October 2020 showed the injury

 was “healing” and that there was “partial bony bridging without fracture or

 displacement.” (Id. at 195.)

        Mr. LaCroix does not state whether he is right or left-handed, and it is unclear

 from these limited records if the injury to his left shoulder would have prevented him

 from completing a grievance form. But even if the court were to presume that he was

 physically incapable of filing a formal grievance during September, October, or


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 November 2020 because of the arm injury and/or the emotional problems he cites (a

 rather generous assumption based on the record), the evidence is unequivocal that he

 was physically capable of filing a formal grievance as of December 11, 2020. That is the

 date he submitted a grievance about another matter.4 (ECF 37-2.) In addition to that

 grievance, he was also capable of submitting written “request for interview” forms on

 December 4, 2020, January 31, 2021, and March 2, 2021, about unrelated matters. (ECF

 34-1 at 10-11, 15.) However, he did not submit a formal grievance about the incident

 giving rise to the complaint until April 25, 2021.

         Mr. LaCroix was required to file a grievance “as soon as it was reasonably

 possible for him to do so,” and he has not shown that he complied with this

 requirement. Hurst, 634 F.3d at 412; see also Gakuba v. Henderson, No. 21-3205, 2022 WL

 17436513, at *2 (7th Cir. Dec. 6, 2022) (rejecting prisoner’s argument that he was

 physically incapable of using the grievance process because he “showed through his

 repeated filing of grievances at this time that he was physically able to pursue

 administrative remedies”). Therefore, the case must be dismissed under 42 U.S.C.

 § 1997e(a).

         For these reasons, the motion for summary judgment (ECF 23) is GRANTED, and

 the case is DISMISSED WITHOUT PREJUDICE pursuant to 42 U.S.C. § 1997e(a). The

 clerk is DIRECTED to close this case.




         4 The December 2020 grievance pertained to an incident occurring on December 5, 2020, with a

 different correctional officer. (ECF 37-2 at 4.)


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      SO ORDERED on February 1, 2023

                                            /s/JON E. DEGUILIO
                                            CHIEF JUDGE
                                            UNITED STATES DISTRICT COURT




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